                       Case 23-11069-CTG           Doc 910     Filed 10/23/23      Page 1 of 15


Debtor's Name         Yellow Corporation                      Case No.               23-11069 (CTG)


                                            Part 7: Questionaire Report




Question a. Payment of Prepetition Debts

Yellow Corporation made certain payments on prepetition debts pursuant to various "First Day" Orders.




     UST Form 11-MOR (06/07/2021)                      Page 1 of 1
                     Case 23-11069-CTG                      Doc 910           Filed 10/23/23              Page 2 of 15


    Debtor's Name                  Yellow Corporation                                           Case. No             23-11069

                                                             Schedules Disclaimer

      General
      Each of the debtors (collectively, the "Debtors") are filing their Monthly Operating Reports (the "MORs") solely for the purposes
      of complying with the monthly operating report requirements applicable in the Debtors’ chapter 11 cases. The financial and
      supplemental information contained herein is presented on a preliminary and unaudited basis, remains subject to future
      adjustments, and may not comply in all material respects with generally accepted accounting principles in United States of
      America (“U.S. GAAP”). The MORs should not be relied on by any persons for information relating to current or future financial
      conditions, events, or performance of any of the Debtors or their affiliates. The financial information has been derived from the
      books and records of the Debtors. This information, however, has not been subject to certain procedures that would typically be
      applied to financial information in accordance with U.S. GAAP, and upon application of such procedures, the Debtors believe that
      the financial information could be subject to material changes. The results of operations contained herein are not necessarily
      indicative of results which may be expected for any other period or for the full year and may not necessarily reflect the combined
      results of operations and financial positions of the Debtors in the future. The Debtors reserve all rights to amend or supplement the
      MORs in all respects, as may be necessary or appropriate. Nothing contained in the MORs shall constitute a waiver of any of the
      Debtors’ rights or an admission with respects to their chapter 11 cases. The financial information in the MORs has been prepared
      on a going concern basis.

      Accounts Receivable
      The amounts reflected in A/R are shown net of the relevant revenue related reserves. These amounts may not be indicative of the
      ultimate settlement amounts as they may be offset by customer liabilities at settlement, or other changes as a result of the claims
      reconciliation process.

      Fixed assets
      Fixed assets are carried at net book value, which is not indicative of potential sale prices in liquidation.

      Equity
      This report does not include non-debtor Yellow Corporation owned entities which are consolidated for GAAP presentation. As a
      result certain eliminations are excluded and equity shown for each debtor entity may not be accurate.

      Intercompany Transactions
      Intercompany transactions between the Debtors have not been eliminated in the financial statements contained herein. No
      conclusion as to the legal obligation related to these intercompany transactions is made by the presentation herein.

      Liabilities Subject to Compromise
      As a result of the chapter 11 filings, the payment of prepetition indebtedness is subject to compromise or other treatment under a
      plan of reorganization. The determination of how liabilities will ultimately be settled or treated cannot be made until the
      completion of the claims reconciliation process in conjunction with the Bankruptcy Court approval of the chapter 11 plan of
      reorganization. Accordingly, the ultimate amount of such liabilities is not determinable at this time. Prepetition liabilities that are
      subject to compromise have been reported at the amounts expected to be allowed as claims, even if they may be settled for lesser
      amounts. The amounts currently classified as liabilities subject to compromise are preliminary and may be subject to future
      adjustments depending on Court actions, further developments with respect to disputed claims, determinations of the secured status
      of certain claims, the values of any collateral securing such claims, rejection of executory contracts, continued reconciliation or
      other events. No estimates are included for contingent or disputed claims or any off-balance sheet liabilities including any
      potential claims associated with the multiemployer pension plans.

      Reorganization Items
      Expenses and income directly associated with the chapter 11 filings have been reported separately in the income statement as
      reorganization items. Reorganization items includes expenses related to legal advisory and representation services, other
      professional consulting and advisory services, debtor-in-possession financing fees and changes in liabilities subject to compromise
      recognized as there are changes in amounts expected to be allowed as claims.

      Liquidation Basis Adjustments
      In September accounting, the Company adjusted certain assets carrying values to zero where no cash inflows or recoveries are
      expected or such recoveries are speculative and undetermined at this time. These assets include certain prepaid contracts, debt
      issuance or other deferred debt costs, and operating lease- right of use assets. As of September 30, no fixed asset values have been
      yet adjusted to reflect expected liquidation value.

      Workers' Compensation
      The Company maintains workers’ compensation insurance covering the vast majority of its employees. The Company has not
      been able to obtain replacement insurance in certain states since the prior insurance policies and programs were cancelled or not
      renewed since the Petition Date. The Company has limited the number of employees working on site and the employees’ duties in
      those states.




UST Form 11-MOR (06/07/2021)                                      Page 1 of 14
                                                Case 23-11069-CTG                                Doc 910                     Filed 10/23/23                   Page 3 of 15


Debtor's Name                                                         Yellow Corporation
Case. No                                                                   23-11069
                                                                                                                                                                                                           (1)
                                                                                                                          Schedule A: Statement of cash receipts and disbursements
($ in thousands)


                                                                                                            New Penn                                                                                                     YRC
                                                                                                 Yellow    Motor Express USF Holland     USF          Yellow                                                          Enterprise
                                                                                               Corporation     LLC          LLC      Reddaway Inc. Logistics, Inc.                                                   Services, Inc.
                                                                                                                               FOR THE PERIOD OF 9/2/2023 THROUGH 9/30/2023

Total Receipts                                                                             $              1,522       $             858      $           8,031       $           2,698       $              64       $                    -
Operating Disbursements
  Payroll & Related                                                                        $            12,060        $                  -   $                   -   $                   -   $                   -   $                    -
  Other Opex                                                                                            15,424                           -                       -                       -                       -                        -
Total Operating Disbursements                                                              $            27,484        $                  -   $                   -   $                   -   $                   -   $                    -
Restructuring Items
  Severance / Prepetition Wages                                                                           1,879                          -                       -                       -                       -                        -
                   (2)
   Professional Fees                                                                                    13,098                           -                       -                       -                       -                        -
   Adequate Assurance Utility Deposit                                                                        -                           -                       -                       -                       -                        -
   Prepetition Vendors & Taxes                                                                           2,037                           -                       -                       -                       -                        -
Total Non-Operating Restructuring Items                                                    $            17,015        $                  -   $                   -   $                   -   $                   -   $                    -
Interest and Adequate Protection
   ABL Interest                                                                                              -                           -                       -                       -                       -                        -
   DIP TL New Money Interest                                                                             1,244                           -                       -                       -                       -                        -
   TLB Interest                                                                                          6,687                           -                       -                       -                       -                        -
   UST Interest                                                                                         12,397                           -                       -                       -                       -                        -
Total Interest and Adequate Protection                                                     $            20,328        $                  -   $                   -   $                   -   $                   -   $                    -
Total Disbursements                                                                        $            64,827        $                  -   $                   -   $                   -   $                   -   $                    -
Total Net Cash Flow Before ABL Paydown                                                     $            (63,306) $                  858      $           8,031       $           2,698       $              64       $                    -
   (+/-) ABL Paydown (80% of receipts)                                                                  39,740                           -                       -                       -                       -                        -
Total Net Cash Flow Including ABL Paydown                                                  $          (103,045) $                   858      $           8,031       $           2,698       $              64       $                    -
Unrestricted US and Canada Cash Rollforward
   Beginning Unrestricted Cash Balance                                                     $             32,130 $                     -      $               -       $               -       $              10       $                    -
     (+ / -) Net Cash Flow before ABL Paydown                                                           (63,306)                    858                  8,031                   2,698                      64                            -
     (+ / -) ABL Paydown                                                                                (39,740)                      -                      -                       -                       -                            -
     (+ / -) FX / Outstanding Checks Adjustment                                                           1,395                       -                      -                       -                       -                            -
                             (3)
      (+ / -) DIP TL Proceeds                                                                            82,500                       -                      -                       -                      -                          -
      (+ / -) Transfers between Debtor Accounts                                                          49,243                    (858)                (8,031)                 (2,698)                   (64)                         -
      (+ / -) Disbursements made on behalf of Debtor by Others                                           19,913                    (582)                (2,072)                 (1,066)                  (519)                    (7,394)
      (+ / -) Intercompany Transactions for Payments on behalf of Other Debtors                         (19,913)                    582                  2,072                   1,066                    519                      7,394
Ending Unrestricted Cash Balance                                                           $            62,222        $                  -   $                   -   $                   -   $              10       $                    -

Restricted Cash Rollforward                                                                                   -                      -                       -                       -                      -                         -
  Beginning Restricted Cash Balance                                                        $                      -   $                  -   $                   -   $                   -   $                   -   $                    -
      (+ / -) Drawn Letters of Credit Paydown                                                                     -                      -                       -                       -                       -                        -
  Ending Restricted Cash Balance                                                           $                      -   $                  -   $                   -   $                   -   $                   -   $                    -


                                                                                           Footnotes:
                                                                                           (1) Receipts and disbursements reflect activity for the post-petition period of September 2, 2023 through September 30, 2023. Actual
                                                                                               cash flow results are recorded on a weekly basis for reporting consistent with the Cash Collateral Order and, therefore, capture
                                                                                               actual results starting as of 9/2/23 instead of 9/1/23 due to the week ending on 9/1/23.
                                                                                           (2) Reflects Debtor and UCC professional fees as funded into a third-party reserve account as incurred and all other professionals
                                                                                                are paid in the ordinary course.
                                                                                           (3) Reflects DIP financing borrowings in September 2023, pursuant to the DIP Order.



DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES:
TOTAL DISBURSEMENTS                                                                        $             84,654       $             582      $            2,072      $           1,066       $             519       $             7,394
  LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                -                      -                       -                       -                       -                        -
TOTAL DISBURSEMENTS FOR U.S. TRUSTEE QUARTERLY FEES                                        $             84,654       $             582      $            2,072      $           1,066       $             519       $             7,394




              UST Form 11-MOR (06/07/2021)                                                                  Page 2 of 14
                                                Case 23-11069-CTG                                Doc 910                     Filed 10/23/23                   Page 4 of 15


Debtor's Name                                                         Yellow Corporation
Case. No                                                                   23-11069
                                                                                                                                                                                                           (1)
                                                                                                                          Schedule A: Statement of cash receipts and disbursements
($ in thousands)

                                                                                                                                                                                    Roadway
                                                                                            YRC Freight                                                                              Express
                                                                                              Canada                                               1105481           Express Lane International,
                                                                                             Company                       YRC Inc.               Ontario Inc.       Services, Inc.    Inc.      Roadway LLC
                                                                                                                               FOR THE PERIOD OF 9/2/2023 THROUGH 9/30/2023

Total Receipts                                                                             $                472       $          34,778       $                  -   $                   -   $                   -   $                -
Operating Disbursements
  Payroll & Related                                                                        $                309       $                   -   $                  -   $                   -   $                   -   $                -
  Other Opex                                                                                                525                           -                      -                       -                       -                    -
Total Operating Disbursements                                                              $                834       $                   -   $                  -   $                   -   $                   -   $                -
Restructuring Items
  Severance / Prepetition Wages                                                                             239                           -                      -                       -                       -                    -
                   (2)
   Professional Fees                                                                                              -                       -                      -                       -                      -                     -
   Adequate Assurance Utility Deposit                                                                             -                       -                      -                       -                      -                     -
   Prepetition Vendors & Taxes                                                                                    -                       -                      -                       -                      -                     -
Total Non-Operating Restructuring Items                                                    $                239       $                   -   $                  -   $                   -   $                   -   $                -
Interest and Adequate Protection
   ABL Interest                                                                                                   -                       -                      -                       -                       -                    -
   DIP TL New Money Interest                                                                                      -                       -                      -                       -                       -                    -
   TLB Interest                                                                                                   -                       -                      -                       -                       -                    -
   UST Interest                                                                                                   -                       -                      -                       -                       -                    -
Total Interest and Adequate Protection                                                     $                      -   $                   -   $                  -   $                   -   $                   -   $                -
Total Disbursements                                                                        $              1,073       $                   -   $                  -   $                   -   $                   -   $                -
Total Net Cash Flow Before ABL Paydown                                                     $               (600) $               34,778       $                  -   $                   -   $                   -   $                -
   (+/-) ABL Paydown (80% of receipts)                                                                            -                       -                      -                       -                       -                    -
Total Net Cash Flow Including ABL Paydown                                                  $               (600) $               34,778       $                  -   $                   -   $                   -   $                -
Unrestricted US and Canada Cash Rollforward
   Beginning Unrestricted Cash Balance                                                     $              1,118 $                 3,638       $                  -   $                   -   $                   -   $                -
     (+ / -) Net Cash Flow before ABL Paydown                                                              (600)                 34,778                          -                       -                       -                    -
     (+ / -) ABL Paydown                                                                                      -                       -                          -                       -                       -                    -
     (+ / -) FX / Outstanding Checks Adjustment                                                               -                       -                          -                       -                       -                    -
                             (3)
      (+ / -) DIP TL Proceeds                                                                                 -                        -                         -                       -                      -                     -
      (+ / -) Transfers between Debtor Accounts                                                            (196)                 (37,395)                        -                       -                      -                     -
      (+ / -) Disbursements made on behalf of Debtor by Others                                                -                   (8,278)                        -                       -                      -                     -
      (+ / -) Intercompany Transactions for Payments on behalf of Other Debtors                               -                    8,278                         -                       -                      -                     -
Ending Unrestricted Cash Balance                                                           $                322       $           1,021       $                  -   $                   -   $                   -   $                -

Restricted Cash Rollforward                                                                                   -                       -                      -                       -                      -                     -
  Beginning Restricted Cash Balance                                                        $                      -   $                   -   $                  -   $                   -   $                   -   $                -
      (+ / -) Drawn Letters of Credit Paydown                                                                     -                       -                      -                       -                       -                    -
  Ending Restricted Cash Balance                                                           $                      -   $                   -   $                  -   $                   -   $                   -   $                -


                                                                                           Footnotes:
                                                                                           (1) Receipts and disbursements reflect activity for the post-petition period of September 2, 2023 through September 30, 2023. Actual
                                                                                               cash flow results are recorded on a weekly basis for reporting consistent with the Cash Collateral Order and, therefore, capture
                                                                                               actual results starting as of 9/2/23 instead of 9/1/23 due to the week ending on 9/1/23.
                                                                                           (2) Reflects Debtor and UCC professional fees as funded into a third-party reserve account as incurred and all other professionals
                                                                                                are paid in the ordinary course.
                                                                                           (3) Reflects DIP financing borrowings in September 2023, pursuant to the DIP Order.



DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES:
TOTAL DISBURSEMENTS                                                                        $               1,073      $            8,278      $                  -   $                   -   $                   -   $                -
  LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                -                       -                      -                       -                       -                    -
TOTAL DISBURSEMENTS FOR U.S. TRUSTEE QUARTERLY FEES                                        $               1,073      $            8,278      $                  -   $                   -   $                   -   $                -




              UST Form 11-MOR (06/07/2021)                                                                  Page 3 of 14
                                                Case 23-11069-CTG                                Doc 910                     Filed 10/23/23                   Page 5 of 15


Debtor's Name                                                         Yellow Corporation
Case. No                                                                   23-11069
                                                                                                                                                                                                           (1)
                                                                                                                          Schedule A: Statement of cash receipts and disbursements
($ in thousands)

                                                                                                                                                                     USF Holland
                                                                                           Roadway Next                                                              International
                                                                                               Day      USF Bestway                              USF Dugan               Sales               USF RedStar Yellow Freight
                                                                                            Corporation     Inc.                                    Inc.             Corporation                LLC       Corporation
                                                                                                                               FOR THE PERIOD OF 9/2/2023 THROUGH 9/30/2023

Total Receipts                                                                             $                      -   $                  -   $                   -   $                   -   $                   -   $                -
Operating Disbursements
  Payroll & Related                                                                        $                      -   $                  -   $                   -   $                   -   $                   -   $                -
  Other Opex                                                                                                      -                      -                       -                       -                       -                    -
Total Operating Disbursements                                                              $                      -   $                  -   $                   -   $                   -   $                   -   $                -
Restructuring Items
  Severance / Prepetition Wages                                                                                   -                      -                       -                       -                       -                    -
                   (2)
   Professional Fees                                                                                              -                      -                       -                       -                      -                     -
   Adequate Assurance Utility Deposit                                                                             -                      -                       -                       -                      -                     -
   Prepetition Vendors & Taxes                                                                                    -                      -                       -                       -                      -                     -
Total Non-Operating Restructuring Items                                                    $                      -   $                  -   $                   -   $                   -   $                   -   $                -
Interest and Adequate Protection
   ABL Interest                                                                                                   -                      -                       -                       -                       -                    -
   DIP TL New Money Interest                                                                                      -                      -                       -                       -                       -                    -
   TLB Interest                                                                                                   -                      -                       -                       -                       -                    -
   UST Interest                                                                                                   -                      -                       -                       -                       -                    -
Total Interest and Adequate Protection                                                     $                      -   $                  -   $                   -   $                   -   $                   -   $                -
Total Disbursements                                                                        $                      -   $                  -   $                   -   $                   -   $                   -   $                -
Total Net Cash Flow Before ABL Paydown                                                     $                      -   $                  -   $                   -   $                   -   $                   -   $                -
   (+/-) ABL Paydown (80% of receipts)                                                                            -                      -                       -                       -                       -                    -
Total Net Cash Flow Including ABL Paydown                                                  $                      -   $                  -   $                   -   $                   -   $                   -   $                -
Unrestricted US and Canada Cash Rollforward
   Beginning Unrestricted Cash Balance                                                     $                      -   $                  -   $                   -   $                   -   $                   -   $                -
     (+ / -) Net Cash Flow before ABL Paydown                                                                     -                      -                       -                       -                       -                    -
     (+ / -) ABL Paydown                                                                                          -                      -                       -                       -                       -                    -
     (+ / -) FX / Outstanding Checks Adjustment                                                                   -                      -                       -                       -                       -                    -
                             (3)
      (+ / -) DIP TL Proceeds                                                                                     -                      -                       -                       -                      -                     -
      (+ / -) Transfers between Debtor Accounts                                                                   -                      -                       -                       -                      -                     -
      (+ / -) Disbursements made on behalf of Debtor by Others                                                    -                      -                       -                       -                      -                     -
      (+ / -) Intercompany Transactions for Payments on behalf of Other Debtors                                   -                      -                       -                       -                      -                     -
Ending Unrestricted Cash Balance                                                           $                      -   $                  -   $                   -   $                   -   $                   -   $                -

Restricted Cash Rollforward                                                                                   -                      -                       -                       -                      -                     -
  Beginning Restricted Cash Balance                                                        $                      -   $                  -   $                   -   $                   -   $                   -   $                -
      (+ / -) Drawn Letters of Credit Paydown                                                                     -                      -                       -                       -                       -                    -
  Ending Restricted Cash Balance                                                           $                      -   $                  -   $                   -   $                   -   $                   -   $                -


                                                                                           Footnotes:
                                                                                           (1) Receipts and disbursements reflect activity for the post-petition period of September 2, 2023 through September 30, 2023. Actual
                                                                                               cash flow results are recorded on a weekly basis for reporting consistent with the Cash Collateral Order and, therefore, capture
                                                                                               actual results starting as of 9/2/23 instead of 9/1/23 due to the week ending on 9/1/23.
                                                                                           (2) Reflects Debtor and UCC professional fees as funded into a third-party reserve account as incurred and all other professionals
                                                                                                are paid in the ordinary course.
                                                                                           (3) Reflects DIP financing borrowings in September 2023, pursuant to the DIP Order.



DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES:
TOTAL DISBURSEMENTS                                                                        $                      -   $                  -   $                   -   $                   -   $                   -   $                -
  LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                -                      -                       -                       -                       -                    -
TOTAL DISBURSEMENTS FOR U.S. TRUSTEE QUARTERLY FEES                                        $                      -   $                  -   $                   -   $                   -   $                   -   $                -




              UST Form 11-MOR (06/07/2021)                                                                  Page 4 of 14
                                                Case 23-11069-CTG                                Doc 910                    Filed 10/23/23                    Page 6 of 15


Debtor's Name                                                         Yellow Corporation
Case. No                                                                   23-11069
                                                                                                                                                                                                            (1)
                                                                                                                          Schedule A: Statement of cash receipts and disbursements
($ in thousands)

                                                                                                               YRC
                                                                                               YRC         International                                                                           YRC              YRC Regional
                                                                                            Association    Investments, YRC Logistics YRC Logistics                                              Mortgages,         Transportation,
                                                                                           Solutions, Inc.      Inc.       Inc.       Services, Inc.                                               LLC                   Inc.
                                                                                                                               FOR THE PERIOD OF 9/2/2023 THROUGH 9/30/2023

Total Receipts                                                                             $                      -   $                  -   $                   -   $                   -   $                  -   $                 -
Operating Disbursements
  Payroll & Related                                                                        $                      -   $                  -   $                   -   $                   -   $                  -   $                 -
  Other Opex                                                                                                      -                      -                       -                       -                      -                     -
Total Operating Disbursements                                                              $                      -   $                  -   $                   -   $                   -   $                  -   $                 -
Restructuring Items
  Severance / Prepetition Wages                                                                                   -                      -                       -                       -                      -                     -
                   (2)
   Professional Fees                                                                                              -                      -                       -                       -                      -                     -
   Adequate Assurance Utility Deposit                                                                             -                      -                       -                       -                      -                     -
   Prepetition Vendors & Taxes                                                                                    -                      -                       -                       -                      -                     -
Total Non-Operating Restructuring Items                                                    $                      -   $                  -   $                   -   $                   -   $                  -   $                 -
Interest and Adequate Protection
   ABL Interest                                                                                                   -                      -                       -                       -                      -                     -
   DIP TL New Money Interest                                                                                      -                      -                       -                       -                      -                     -
   TLB Interest                                                                                                   -                      -                       -                       -                      -                     -
   UST Interest                                                                                                   -                      -                       -                       -                      -                     -
Total Interest and Adequate Protection                                                     $                      -   $                  -   $                   -   $                   -   $                  -   $                 -
Total Disbursements                                                                        $                      -   $                  -   $                   -   $                   -   $                  -   $                 -
Total Net Cash Flow Before ABL Paydown                                                     $                      -   $                  -   $                   -   $                   -   $                  -   $                 -
   (+/-) ABL Paydown (80% of receipts)                                                                            -                      -                       -                       -                      -                     -
Total Net Cash Flow Including ABL Paydown                                                  $                      -   $                  -   $                   -   $                   -   $                  -   $                 -
Unrestricted US and Canada Cash Rollforward
   Beginning Unrestricted Cash Balance                                                     $                      -   $                  -   $                   -   $                   -   $                  -   $                 -
     (+ / -) Net Cash Flow before ABL Paydown                                                                     -                      -                       -                       -                      -                     -
     (+ / -) ABL Paydown                                                                                          -                      -                       -                       -                      -                     -
     (+ / -) FX / Outstanding Checks Adjustment                                                                   -                      -                       -                       -                      -                     -
                             (3)
      (+ / -) DIP TL Proceeds                                                                                     -                      -                       -                       -                      -                     -
      (+ / -) Transfers between Debtor Accounts                                                                   -                      -                       -                       -                      -                     -
      (+ / -) Disbursements made on behalf of Debtor by Others                                                    -                      -                       -                       -                      -                     -
      (+ / -) Intercompany Transactions for Payments on behalf of Other Debtors                                   -                      -                       -                       -                      -                     -
Ending Unrestricted Cash Balance                                                           $                      -   $                  -   $                   -   $                   -   $                  -   $                 -

Restricted Cash Rollforward                                                                                   -                      -                       -                       -                      -                     -
  Beginning Restricted Cash Balance                                                        $                      -   $                  -   $                   -   $                   -   $                  -   $                 -
      (+ / -) Drawn Letters of Credit Paydown                                                                     -                      -                       -                       -                      -                     -
  Ending Restricted Cash Balance                                                           $                      -   $                  -   $                   -   $                   -   $                  -   $                 -


                                                                                           Footnotes:
                                                                                           (1) Receipts and disbursements reflect activity for the post-petition period of September 2, 2023 through September 30, 2023. Actual
                                                                                               cash flow results are recorded on a weekly basis for reporting consistent with the Cash Collateral Order and, therefore, capture
                                                                                               actual results starting as of 9/2/23 instead of 9/1/23 due to the week ending on 9/1/23.
                                                                                           (2) Reflects Debtor and UCC professional fees as funded into a third-party reserve account as incurred and all other professionals
                                                                                                are paid in the ordinary course.
                                                                                           (3) Reflects DIP financing borrowings in September 2023, pursuant to the DIP Order.



DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES:
TOTAL DISBURSEMENTS                                                                        $                      -   $                  -   $                   -   $                   -   $                  -   $                 -
  LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                -                      -                       -                       -                      -                     -
TOTAL DISBURSEMENTS FOR U.S. TRUSTEE QUARTERLY FEES                                        $                      -   $                  -   $                   -   $                   -   $                  -   $                 -




              UST Form 11-MOR (06/07/2021)                                                                  Page 5 of 14
                                        Case 23-11069-CTG                           Doc 910               Filed 10/23/23                    Page 7 of 15


Debtor's Name                                  Yellow Corporation
Case. No                                            23-11069
                                                                                                                        Schedule B:
                                                                             Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit

($ In Thousands)

                                                                                           New Penn Motor                                USF Reddaway       Yellow Logistics,     YRC Enterprise
                                                                    Yellow Corporation      Express LLC          USF Holland LLC             Inc.                 Inc.             Services, Inc.

ASSETS                                                                                                               BOOK VALUE AS OF 9/30/2023
Cash and cash equivalents (1)                                       $           60,541    $                  1   $              23   $                 6   $              251    $                   -
Restricted amounts held in escrow (1)                                             2,038                    -                     -                    -                     -                        -
Accounts receivable, net                                                          3,877                6,376                29,828               14,543                 5,099                       (0)
Inventory                                                                             -                  240                 1,305                  585                     -                        -
Prepaid expenses and other                                                     101,703                 4,495                11,673                   75                   845                        0
Net property and equipment                                                          (0)               62,958               267,896              124,987                   724                   55,159
Operating lease right-of-use assets                                                  -                    (0)                    0                    0                    (0)                      (0)
Intercompany Receivables / Investments in Affiliates                         6,575,000               379,200               897,710              481,227                25,868                        -
Other assets                                                                    36,009                       1                 365                    94                  166                       (0)

TOTAL ASSETS                                                        $        6,779,168    $          453,271     $       1,208,801   $          621,516    $           32,953    $              55,159



LIABILITIES AND OWNER EQUITY
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)                                                                 BOOK VALUE AS OF 9/30/2023
  Accounts payable and accrued expenses                             $            7,718    $              466 $              1,848 $           707          $              578 $                  1,569
  Wages, vacations and employee benefits                                         2,892                   110                  529             151                          21                    2,284
  Other current and accrued liabilities                                          6,782                     -                    0               -                           -                        -
  Postpetition taxes payable                                                    79,789               (14,386)             (26,486)          4,110                        (407)                   8,144
  DIP Facility (2)(3)                                                          146,500                     -                     -                     -                    -                        -
TOTAL POSTPETITION LIABILITIES                                      $          243,681    $          (13,809) $            (24,109) $              4,969   $              192    $              11,997
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
  Secured Debt (3)                                                  $        1,295,171    $                -     $               -   $                 -   $                -    $                   -
  Priority Debt                                                                     41                   128                   657                   120                  241                    4,089
  Unsecured Debt
    Unsecured Debt - Intercompany Payables                                   6,063,407               336,163               537,018              146,765                     -               170,294
    Unsecured Debt - Other                                                     402,660                 9,697                73,139               41,651                19,126                21,089
    Total Unsecured Debt                                                     6,466,067               345,861               610,157              188,416                19,126               191,383
TOTAL PRE-PETITION LIABILITIES                                      $        7,761,279    $          345,989     $         610,814   $          188,536    $           19,366    $          195,472

TOTAL LIABILITIES                                                   $        8,004,961    $          332,180     $         586,705   $          193,505    $           19,558    $          207,469
STOCKHOLDERS' EQUITY
  Preferred stock                                                   $                 - $                  -     $              26 $                  -    $                -    $                -
  Common stock                                                                      524                    -                    11                    9                     -                    12
  Capital surplus                                                             2,211,222               31,140               (30,348)              54,562                 2,346              (525,659)
  Retained earnings                                                          (3,115,491)              89,952               652,407              373,441                11,049               373,338
  Other equity                                                                 (229,311)                   -                     -                    -                     -                     -
  Treasury stock                                                                (92,737)                   -                     -                    -                     -                     -
TOTAL STOCKHOLDERS' EQUITY                                          $        (1,225,793) $           121,092     $         622,096 $            428,012    $           13,394    $         (152,309)

TOTAL LIABILITIES AND STOCKHOLDERS' EQUITY                          $        6,779,168    $          453,271     $       1,208,801   $          621,516    $           32,953    $              55,159



                                                                    Footnotes:
                                                                    (1) Cash and cash equivalents and restricted amounts held in escrow include prefunding of electronic funds transfers
                                                                        and collateral payments, which may cause differences in balances with the bank statements.
                                                                    (2) Includes $17.9 million and $42.1 new money DIP facility draws in August and $24.6 million and $57.9 draws in
                                                                         September from the Junior DIP Facility and Postpetition B-2 Facility, respectively. Additionally, there were
                                                                        $4 million of paid in kind financing fees related to the Postpetition B-2 Facility.
                                                                    (3) The Debtor Yellow Corporation is the borrower under the DIP Facility and prepetition secured notes. All other Debtors
                                                                        are guarantors.




          UST Form 11-MOR (06/07/2021)                                                        Page 6 of 14
                                        Case 23-11069-CTG                           Doc 910               Filed 10/23/23                     Page 8 of 15


Debtor's Name                                  Yellow Corporation
Case. No                                            23-11069
                                                                                                                        Schedule B:
                                                                             Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit

($ In Thousands)

                                                                      YRC Freight                               1105481 Ontario           Express Lane         Roadway Express
                                                                    Canada Company             YRC Inc.               Inc.                Services, Inc.       International, Inc.       Roadway LLC

ASSETS                                                                                                              BOOK VALUE AS OF 9/30/2023
Cash and cash equivalents (1)                                       $               241   $            1,422    $                 -   $                    -   $                 -   $                 -
Restricted amounts held in escrow (1)                                                 -                    -                      -                        -                     -                   -
Accounts receivable, net                                                          2,403              125,191                      -                        -                     -               6,569
Inventory                                                                            44                4,150                      -                        -                     -                   -
Prepaid expenses and other                                                         155                 7,610                     -                         -                     -              (6,569)
Net property and equipment                                                       7,439               555,014                     -                         -                     -                   -
Operating lease right-of-use assets                                                  -                     0                     -                         -                     -                   -
Intercompany Receivables / Investments in Affiliates                            53,645             2,891,909                     0                         6                     -             656,569
Other assets                                                                        256                   312                     -                        -                     -                     -

TOTAL ASSETS                                                        $           64,183    $        3,585,608    $                0    $                    6   $                 -   $         656,569



LIABILITIES AND OWNER EQUITY
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)                                                                BOOK VALUE AS OF 9/30/2023
  Accounts payable and accrued expenses                             $               445 $              6,936 $               - $               -               $                - $                    -
  Wages, vacations and employee benefits                                              7                1,383                 -                 -                                -                      -
  Other current and accrued liabilities                                              (0)                   -                 -                 -                                -                      0
  Postpetition taxes payable                                                     (2,514)             (82,244)                -                 -                               (0)                     -
  DIP Facility (2)(3)                                                                 -                    -                      -                        -                    -                      -
TOTAL POSTPETITION LIABILITIES                                      $            (2,063) $           (73,924) $                   -   $                    -   $               (0) $                   0
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
  Secured Debt (3)                                                  $                 -   $                -    $                 -   $                    -   $                 -   $                 -
  Priority Debt                                                                      65                1,313                      -                        -                     -                     -
  Unsecured Debt
    Unsecured Debt - Intercompany Payables                                       3,124             2,036,732                      -                        -                  416              167,139
    Unsecured Debt - Other                                                      25,526               345,625                      -                        0                    1               12,626
    Total Unsecured Debt                                                        28,649             2,382,356                      -                        0                  416              179,765
TOTAL PRE-PETITION LIABILITIES                                      $           28,715    $        2,383,669    $                 -   $                    0   $              416    $         179,765

TOTAL LIABILITIES                                                   $           26,652    $        2,309,745    $                 -   $                    0   $              416    $         179,765
STOCKHOLDERS' EQUITY
  Preferred stock                                                   $              403 $                   -    $                -    $                 - $                     - $                  -
  Common stock                                                                      67                     0                     -                     10                       -                    -
  Capital surplus                                                               33,998             1,060,537                     0                      -                    (292)             (74,874)
  Retained earnings                                                              4,428               213,161                     0                     (4)                   (180)             551,678
  Other equity                                                                  (1,364)                2,165                     -                      -                      56                    -
  Treasury stock                                                                     -                     -                     -                      -                       -                    -
TOTAL STOCKHOLDERS' EQUITY                                          $           37,531 $           1,275,863    $                0    $                 6 $                  (416) $           476,804

TOTAL LIABILITIES AND STOCKHOLDERS' EQUITY                          $           64,183    $        3,585,608    $                0    $                    6   $                 -   $         656,569



                                                                    Footnotes:
                                                                    (1) Cash and cash equivalents and restricted amounts held in escrow include prefunding of electronic funds transfers
                                                                        and collateral payments, which may cause differences in balances with the bank statements.
                                                                    (2) Includes $17.9 million and $42.1 new money DIP facility draws in August and $24.6 million and $57.9 draws in
                                                                         September from the Junior DIP Facility and Postpetition B-2 Facility, respectively. Additionally, there were
                                                                        $4 million of paid in kind financing fees related to the Postpetition B-2 Facility.
                                                                    (3) The Debtor Yellow Corporation is the borrower under the DIP Facility and prepetition secured notes. All other Debtors
                                                                        are guarantors.




          UST Form 11-MOR (06/07/2021)                                                        Page 7 of 14
                                        Case 23-11069-CTG                           Doc 910               Filed 10/23/23                    Page 9 of 15


Debtor's Name                                  Yellow Corporation
Case. No                                            23-11069
                                                                                                                        Schedule B:
                                                                             Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit

($ In Thousands)
                                                                                                                                          USF Holland
                                                                    Roadway Next Day                                                   International Sales                           Yellow Freight
                                                                      Corporation    USF Bestway Inc.             USF Dugan Inc.          Corporation      USF RedStar LLC            Corporation

ASSETS                                                                                                                BOOK VALUE AS OF 9/30/2023
Cash and cash equivalents (1)                                       $                  -   $                  -   $                -   $               -   $                 -   $                    -
Restricted amounts held in escrow (1)                                                  -                      -                    -                   -                     -                        -
Accounts receivable, net                                                               -                      -                    -                   -                     -                        -
Inventory                                                                              -                      -                    -                   -                     -                        -
Prepaid expenses and other                                                           10                    -                     -                     -                    -                         -
Net property and equipment                                                            -                    -                     -                     -                    -                         -
Operating lease right-of-use assets                                                   -                    -                     -                     -                    -                         -
Intercompany Receivables / Investments in Affiliates                                  -               39,923                12,662                     -               88,232                         -
Other assets                                                                           -                      -                    -                   -                     -                        -

TOTAL ASSETS                                                        $                10    $          39,923      $         12,662     $               -   $           88,232    $                    -



LIABILITIES AND OWNER EQUITY
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)                                                                  BOOK VALUE AS OF 9/30/2023
  Accounts payable and accrued expenses                             $                 -    $               - $                  - $              -         $                - $                       -
  Wages, vacations and employee benefits                                              -                    -                    -                -                          -                         -
  Other current and accrued liabilities                                               -                    -                    -                -                          -                         -
  Postpetition taxes payable                                                      9,337                 (125)                (247)               -                       (470)                        -
  DIP Facility (2)(3)                                                                 -                    -                     -                     -                    -                         -
TOTAL POSTPETITION LIABILITIES                                      $             9,337    $            (125) $               (247) $                  -   $             (470) $                      -
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
  Secured Debt (3)                                                  $                  -   $                  -   $                -   $               -   $                 -   $                    -
  Priority Debt                                                                        -                      -                    -                   -                     -                        -
  Unsecured Debt
    Unsecured Debt - Intercompany Payables                                      13,438                 3,379                     -                     -                    -                         -
    Unsecured Debt - Other                                                           -                   817                   197                     -                2,024                         -
    Total Unsecured Debt                                                        13,438                 4,196                   197                     -                2,024                         -
TOTAL PRE-PETITION LIABILITIES                                      $           13,438     $           4,196      $            197     $               -   $            2,024    $                    -

TOTAL LIABILITIES                                                   $           22,775     $           4,071      $            (51) $                  -   $            1,553    $                    -
STOCKHOLDERS' EQUITY
  Preferred stock                                                   $                 - $                  -      $              -     $               -   $                - $                       -
  Common stock                                                                        -                   29                 1,000                     -                    -                         -
  Capital surplus                                                               (20,830)              15,546                10,567                     -              112,375                         -
  Retained earnings                                                              (1,935)              20,277                 1,146                     -              (25,697)                        -
  Other equity                                                                        -                    -                     -                     -                    -                         -
  Treasury stock                                                                      -                    -                     -                     -                    -                         -
TOTAL STOCKHOLDERS' EQUITY                                          $           (22,765) $            35,852      $         12,712     $               -   $           86,678 $                       -

TOTAL LIABILITIES AND STOCKHOLDERS' EQUITY                          $                10    $          39,923      $         12,662     $               -   $           88,232    $                    -



                                                                    Footnotes:
                                                                    (1) Cash and cash equivalents and restricted amounts held in escrow include prefunding of electronic funds transfers
                                                                        and collateral payments, which may cause differences in balances with the bank statements.
                                                                    (2) Includes $17.9 million and $42.1 new money DIP facility draws in August and $24.6 million and $57.9 draws in
                                                                         September from the Junior DIP Facility and Postpetition B-2 Facility, respectively. Additionally, there were
                                                                        $4 million of paid in kind financing fees related to the Postpetition B-2 Facility.
                                                                    (3) The Debtor Yellow Corporation is the borrower under the DIP Facility and prepetition secured notes. All other Debtors
                                                                        are guarantors.




          UST Form 11-MOR (06/07/2021)                                                         Page 8 of 14
                                        Case 23-11069-CTG                          Doc 910              Filed 10/23/23                      Page 10 of 15


Debtor's Name                                  Yellow Corporation
Case. No                                            23-11069
                                                                                                                        Schedule B:
                                                                             Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit

($ In Thousands)
                                                                                                                                                                                     YRC Regional
                                                                     YRC Association       YRC International                              YRC Logistics        YRC Mortgages,        Transportation,
                                                                      Solutions, Inc.       Investments, Inc. YRC Logistics Inc.          Services, Inc.           LLC                    Inc.

ASSETS                                                                                                                BOOK VALUE AS OF 9/30/2023
Cash and cash equivalents (1)                                       $                  -   $                  -   $               -   $                    -   $             -   $                     -
Restricted amounts held in escrow (1)                                                  -                      -                   -                        -                 -                       -
Accounts receivable, net                                                               -                      -                   -                        -                 -                      (0)
Inventory                                                                              -                      -                   -                        -                 -                       -
Prepaid expenses and other                                                            -                    -                     -                      -                    0                    (0)
Net property and equipment                                                            -                    -                     -                      -                    -                     -
Operating lease right-of-use assets                                                   -                    -                     -                      -                    -                     -
Intercompany Receivables / Investments in Affiliates                              3,086               97,225                 3,563                 21,689                    -             1,973,331
Other assets                                                                           -                      -                   -                        -                 -                      (0)

TOTAL ASSETS                                                        $             3,086    $          97,225      $          3,563    $            21,689      $             0   $         1,973,331



LIABILITIES AND OWNER EQUITY
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)                                                                  BOOK VALUE AS OF 9/30/2023
  Accounts payable and accrued expenses                             $                 -    $                  -   $            - $               -             $             -   $                   -
  Wages, vacations and employee benefits                                              -                       -                -                 -                           -                       -
  Other current and accrued liabilities                                               -                       -                -                 -                           -                       -
  Postpetition taxes payable                                                          0                       0                0                67                           -                  28,264
  DIP Facility (2)(3)                                                                 -                       -                  -                      -                    -                       -
TOTAL POSTPETITION LIABILITIES                                      $                 0    $                  0   $              0    $                67      $             -   $              28,264
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
  Secured Debt (3)                                                  $                  -   $                  -   $               -   $                    -   $             -   $                     -
  Priority Debt                                                                        -                      -                   -                        -                 -                         -
  Unsecured Debt
    Unsecured Debt - Intercompany Payables                                            -                    -                      -                10,300                    1                  14,834
    Unsecured Debt - Other                                                           66                2,039                      -                   364                    -                  31,945
    Total Unsecured Debt                                                             66                2,039                      -                10,664                    1                  46,779
TOTAL PRE-PETITION LIABILITIES                                      $                66    $           2,039      $               -   $            10,664      $             1   $              46,779

TOTAL LIABILITIES                                                   $                66    $           2,039      $              0    $            10,731      $             1   $              75,043
STOCKHOLDERS' EQUITY
  Preferred stock                                                   $                 -    $               -      $               - $                   - $                 - $                    -
  Common stock                                                                       10                    1                  1,312                     -                  10                      -
  Capital surplus                                                                   876               91,219                 (1,557)                 (419)               (147)             1,324,258
  Retained earnings                                                               2,134                3,966                  3,222                11,623                 136                574,031
  Other equity                                                                        -                    -                    585                  (245)                  -                      -
  Treasury stock                                                                      -                    -                      -                     -                   -                      -
TOTAL STOCKHOLDERS' EQUITY                                          $             3,021    $          95,186      $           3,563 $              10,959 $                (1) $           1,898,289

TOTAL LIABILITIES AND STOCKHOLDERS' EQUITY                          $             3,086    $          97,225      $          3,563    $            21,689      $             0   $         1,973,331



                                                                    Footnotes:
                                                                    (1) Cash and cash equivalents and restricted amounts held in escrow include prefunding of electronic funds transfers
                                                                        and collateral payments, which may cause differences in balances with the bank statements.
                                                                    (2) Includes $17.9 million and $42.1 new money DIP facility draws in August and $24.6 million and $57.9 draws in
                                                                         September from the Junior DIP Facility and Postpetition B-2 Facility, respectively. Additionally, there were
                                                                        $4 million of paid in kind financing fees related to the Postpetition B-2 Facility.
                                                                    (3) The Debtor Yellow Corporation is the borrower under the DIP Facility and prepetition secured notes. All other Debtors
                                                                        are guarantors.




          UST Form 11-MOR (06/07/2021)                                                         Page 9 of 14
                                         Case 23-11069-CTG                    Doc 910            Filed 10/23/23                  Page 11 of 15


Debtor's Name                Yellow Corporation
Case. No                          23-11069
                                                                                  Schedule C: Statement of operations (profit or loss statement)
                                                                                                     (Income Statement)

($ In Thousands)


                                                           Yellow         New Penn Motor                            USF Reddaway         Yellow Logistics,    YRC Enterprise
                                                         Corporation       Express LLC   USF Holland LLC                 Inc.                  Inc.            Services, Inc.

                                                                                     FOR THE PERIOD OF 9/1/2023 THROUGH 9/30/2023
Operating Revenue                                    $              -     $              5 $          (32) $         (56) $                           173     $            -
Operating Expenses:
     Salaries wages and employees benefits                          480                 171                1,228                  521                   69               4,903
     Fuel, operating expenses and supplies                        2,848                 295                1,717                  299                5,292                (536)
     Purchased transportation                                         -                 (54)                (998)                (175)                 258                   -
     Depreciation and amortization                                    -                  74                  350                   19                  (50)             (2,410)
     Other operating expenses                                     5,125                 (79)              (1,072)                (474)                 (84)                 (1)
     (Gains) losses on property disposals, net                        -                   -                   24                  385                    6               1,551
     Reorganization charges(1)                                  17,563                     -                    -                    -                   -                557
     Impairment charges(2)                                            -                   -                    -                    -                    -             (22,795)
Operating Income                                     $          (26,016) $             (404) $            (1,280) $              (631) $            (5,318) $           18,732
Nonoperating Expenses:
     Interest expense                                            18,818                  (9)                  28                    0                    -                  -
     Interest Income                                                (36)                 36                    -                    -                    -                  -
     Non-union pension and postretirement benefits                   57                   -                    -                    -                    -                  -
     Other nonoperating expenses                                   (305)                  3                    -                  101                    -                  -
Income (loss) before Income Taxes                    $          (44,551) $             (434) $            (1,308) $              (731) $            (5,318) $          18,732
     Provision for Income Taxes                                    (685)                (11)                   -                    -                    -                  -
Net gain / (loss)                                    $          (43,866) $             (423) $            (1,308) $              (731) $            (5,318) $          18,732



                                                     Footnotes:
                                                     (1) The $4.6 million credit for YRC Inc. reflects a relocation of reorganization items booked in August 2023 to
                                                          liquidation basis accounting charges.
                                                     (2) The $22.8 million credit for YRC Enterprises Services, Inc. reflects the reversal of previously recorded
                                                          impairment charges on account of liquidation basis accounting.




UST Form 11-MOR (06/07/2021)                                                         Page 10 of 14
                                         Case 23-11069-CTG                   Doc 910             Filed 10/23/23                     Page 12 of 15


Debtor's Name                Yellow Corporation
Case. No                          23-11069
                                                                                  Schedule C: Statement of operations (profit or loss statement)
                                                                                                     (Income Statement)

($ In Thousands)


                                                       YRC Freight                              1105481 Ontario          Express Lane         Roadway Express
                                                     Canada Company           YRC Inc.               Inc.                Services, Inc.       International, Inc.       Roadway LLC

                                                                                     FOR THE PERIOD OF 9/1/2023 THROUGH 9/30/2023
Operating Revenue                                    $             (323) $            1,113 $         -     $        -    $                                 -       $            -
Operating Expenses:
     Salaries wages and employees benefits                         (138)               3,702                     -                        -                     -                     -
     Fuel, operating expenses and supplies                           25                6,925                     -                        -                     -                     -
     Purchased transportation                                        26                 (808)                    -                        -                     -                     -
     Depreciation and amortization                                    -               (2,033)                    -                        -                     -                     -
     Other operating expenses                                      (168)               6,761                     -                        -                     -                     -
     (Gains) losses on property disposals, net                       10                3,385                     -                        -                     -                     -
     Reorganization charges(1)                                         -              (4,613)                    -                        -                     -                     -
     Impairment charges(2)                                            -                   -                      -                        -                     -                     -
Operating Income                                     $              (77) $          (12,205) $               -       $               -        $             -       $            -
Nonoperating Expenses:
     Interest expense                                                 -                 (33)                     -                        -                      -                    -
     Interest Income                                                 (0)                 (0)                     -                        -                      -                    -
     Non-union pension and postretirement benefits                    -                 265                      -                        -                      -                    -
     Other nonoperating expenses                                    106                 133                      -                        -                     (0)                   -
Income (loss) before Income Taxes                    $             (182) $          (12,569) $               -       $               -        $                  0 $             -
     Provision for Income Taxes                                       -                 (46)                     -                        -                      -                    -
Net gain / (loss)                                    $             (182) $          (12,523) $               -       $               -        $                  0 $             -



                                                     Footnotes:
                                                     (1) The $4.6 million credit for YRC Inc. reflects a relocation of reorganization items booked in August 2023 to
                                                          liquidation basis accounting charges.
                                                     (2) The $22.8 million credit for YRC Enterprises Services, Inc. reflects the reversal of previously recorded
                                                          impairment charges on account of liquidation basis accounting.




UST Form 11-MOR (06/07/2021)                                                         Page 11 of 14
                                         Case 23-11069-CTG                      Doc 910           Filed 10/23/23                 Page 13 of 15


Debtor's Name                Yellow Corporation
Case. No                          23-11069
                                                                                  Schedule C: Statement of operations (profit or loss statement)
                                                                                                     (Income Statement)

($ In Thousands)

                                                                                                                      USF Holland
                                                      Roadway Next                                                    International                                Yellow Freight
                                                     Day Corporation USF Bestway Inc.          USF Dugan Inc.       Sales Corporation USF RedStar LLC               Corporation

                                                                                     FOR THE PERIOD OF 9/1/2023 THROUGH 9/30/2023
Operating Revenue                                    $              -       $          -   $          -     $        -    $                            -       $              -
Operating Expenses:
     Salaries wages and employees benefits                              -                  5                    1                     -                    7                        -
     Fuel, operating expenses and supplies                              -                  -                    -                     -                    -                        -
     Purchased transportation                                           -                  -                    -                     -                    -                        -
     Depreciation and amortization                                      -                  -                    -                     -                    -                        -
     Other operating expenses                                           -                  2                    0                     -                    4                        -
     (Gains) losses on property disposals, net                          -                  -                    -                     -                    -                        -
     Reorganization charges(1)                                          -                  -                    -                     -                    -                        -
     Impairment charges(2)                                              -                  -                    -                     -                  -                          -
Operating Income                                     $              -       $             (7) $                (1) $              -       $            (11) $                 -
Nonoperating Expenses:
     Interest expense                                                   -                  -                    -                     -                  -                          -
     Interest Income                                                    -                  -                    -                     -                  -                          -
     Non-union pension and postretirement benefits                      -                  -                    -                     -                  -                          -
     Other nonoperating expenses                                        -                  -                    -                     -                  -                          -
Income (loss) before Income Taxes                    $              -       $             (7) $                (1) $              -       $            (11) $                 -
     Provision for Income Taxes                                         -                  -                    -                     -                  -                          -
Net gain / (loss)                                    $              -       $             (7) $                (1) $              -       $            (11) $                 -



                                                     Footnotes:
                                                     (1) The $4.6 million credit for YRC Inc. reflects a relocation of reorganization items booked in August 2023 to
                                                          liquidation basis accounting charges.
                                                     (2) The $22.8 million credit for YRC Enterprises Services, Inc. reflects the reversal of previously recorded
                                                          impairment charges on account of liquidation basis accounting.




UST Form 11-MOR (06/07/2021)                                                         Page 12 of 14
                                         Case 23-11069-CTG                      Doc 910              Filed 10/23/23                     Page 14 of 15


Debtor's Name                Yellow Corporation
Case. No                          23-11069
                                                                                    Schedule C: Statement of operations (profit or loss statement)
                                                                                                       (Income Statement)

($ In Thousands)

                                                                                  YRC                                                                                YRC Regional
                                                     YRC Association          International          YRC Logistics           YRC Logistics        YRC Mortgages,     Transportation,
                                                      Solutions, Inc.       Investments, Inc.           Inc.                 Services, Inc.           LLC                 Inc.

                                                                                     FOR THE PERIOD OF 9/1/2023 THROUGH 9/30/2023
Operating Revenue                                    $              -       $          -   $          -     $        -    $                                  -       $           -
Operating Expenses:
     Salaries wages and employees benefits                              -                    -                       -                    6                      -                   -
     Fuel, operating expenses and supplies                              -                    -                       -                    -                      -                   -
     Purchased transportation                                           -                    -                       -                    -                      -                   -
     Depreciation and amortization                                      -                    -                       -                    -                      -                   -
     Other operating expenses                                           -                    -                       -                    3                      -                   -
     (Gains) losses on property disposals, net                          -                    -                       -                    -                      -                   -
     Reorganization charges(1)                                          -                    -                       -                        -                  -                   -
     Impairment charges(2)                                              -                    -                       -                     -                     -                   -
Operating Income                                     $              -       $            -       $              -        $                (9) $              -       $           -
Nonoperating Expenses:
     Interest expense                                                   -                    -                       -                    -                      -                   -
     Interest Income                                                    -                    -                       -                    -                      -                   -
     Non-union pension and postretirement benefits                      -                    -                       -                    -                      -                   -
     Other nonoperating expenses                                        -                    -                       -                    1                      -                   -
Income (loss) before Income Taxes                    $              -       $            -       $              -        $              (10) $               -       $           -
     Provision for Income Taxes                                         -                    -                       -                    -                      -                   -
Net gain / (loss)                                    $              -       $            -       $              -        $              (10) $               -       $           -



                                                     Footnotes:
                                                     (1) The $4.6 million credit for YRC Inc. reflects a relocation of reorganization items booked in August 2023 to
                                                          liquidation basis accounting charges.
                                                     (2) The $22.8 million credit for YRC Enterprises Services, Inc. reflects the reversal of previously recorded
                                                          impairment charges on account of liquidation basis accounting.




UST Form 11-MOR (06/07/2021)                                                          Page 13 of 14
                               Case 23-11069-CTG                     Doc 910          Filed 10/23/23             Page 15 of 15


Debtor's Name                             Yellow Corporation                                                Case. No                             23-11069

                                                                         Schedule D:
                                                                  Listing of Bank Accounts
($ In Thousands)
                                                                                                                                              End of Period
            Account Holder                              Bank                  Open / Closed in Period          Account Number                 Book Balance
YRC Freight Canada Company                Bank of Nova Scotia              N/A                                               x2910 $                               -
YRC Freight Canada Company                Bank of Nova Scotia              N/A                                               x4510                               181
YRC Freight Canada Company                Bank of Nova Scotia              N/A                                               x7914                                 -
Yellow Corporation                        Bank of Nova Scotia              N/A                                               x5117                               309
Yellow Corporation                        Bank of Nova Scotia              N/A                                               x5214                               162
New Penn Motor Express LLC                Bank of Nova Scotia              N/A                                               x5311                                 -
YRC Freight Canada Company                Bank of Nova Scotia              N/A                                               x8114                                37
YRC Freight Canada Company                Bank of Nova Scotia              N/A                                               x3512                                58
YRC Freight Canada Company                JPMorgan Canada                  N/A                                               x1101                                11
YRC Freight Canada Company                JPMorgan Canada                  N/A                                               x1210                                34
YRC Inc.                                  JPMorgan Canada                  N/A                                               x8704                               433
YRC Inc.                                  JPMorgan Canada                  N/A                                               x8705                               190
YRC Inc.                                  TD Canada                        N/A                                               x0714                                24
YRC Freight Canada Company                Wells Fargo                      N/A                                             Unknown                                 -
Yellow Corporation                        BNY Mellon                       N/A                                               x6663                                12
Yellow Corporation                        BNY Mellon                       N/A                                               x6671                                 -
Yellow Corporation                        BNY Mellon                       N/A                                               x6698                                 -
Yellow Corporation                        BNY Mellon                       N/A                                               x8400                                 -
Yellow Corporation                        Bank of America                  N/A                                               x2291                                85
Yellow Corporation                        JPMorgan Chase & Co              N/A                                               x0830                             9,712
YRC Inc.                                  JPMorgan Chase & Co              N/A                                               x2227                               306
Yellow Logistics, Inc.                    JPMorgan Chase & Co              N/A                                               x1713                                10
Yellow Corporation                        JPMorgan Chase & Co              N/A                                               x2835                                43
USF Reddaway Inc.                         JPMorgan Chase & Co              N/A                                               x9567                                 -
USF Holland LLC                           JPMorgan Chase & Co              N/A                                               x9583                                 -
New Penn Motor Express LLC                JPMorgan Chase & Co              N/A                                               x3310                                 -
Yellow Corporation                        JPMorgan Chase & Co              N/A                                               x4193                             1,360
Yellow Corporation                        JPMorgan Chase & Co              N/A                                               x4201                             1,228
Yellow Corporation                        JPMorgan Chase & Co              N/A                                               x4219                                 -
YRC Inc.                                  JPMorgan Chase & Co              N/A                                               x4250                                 7
USF Holland LLC                           JPMorgan Chase & Co              N/A                                               x4268                                 -
Yellow Corporation                        JPMorgan Chase & Co              N/A                                               x4599                                 2
USF Holland LLC (1)                       JPMorgan Chase & Co              N/A                                               x4623                            50,090
YRC Inc.                                  JPMorgan Chase & Co              N/A                                               x5497                                36
YRC Inc.                                  JPMorgan Chase & Co              N/A                                               x7613                                25
USF Holland LLC                           JPMorgan Chase & Co              N/A                                             Unknown                                 -
Yellow Corporation                        PNC                              N/A                                               x2947                               102
Yellow Logistics, Inc.                    PNC                              N/A                                               x7094                                 -
Yellow Corporation                        PNC                              N/A                                               x0640                                 -
Yellow Corporation                        Citizens                         N/A                                               x8417                                 -
Yellow Corporation                        Citizens                         N/A                                               x8638                                 0
Yellow Corporation                        Citizens                         N/A                                               x8689                                 -
Yellow Corporation (2)                    Citizens                         N/A                                                 x8700                                677
Yellow Corporation                        Citizens                         N/A                                                 x8719                                  -
Yellow Corporation                        Citizens                         N/A                                                 x8727                                 32
Yellow Corporation                        Citizens                         N/A                                                 x9308                                  -
Yellow Corporation                        UMB                              N/A                                                 x1046                                  -
Yellow Corporation                        US Bartle                        N/A                                                 x5676                                126
Yellow Corporation                        Wells Fargo                      N/A                                                 x9838                                  -
YRC Inc.                                  Wells Fargo                      N/A                                                 x6130                                  -
Footnote:
(1) This dormant account was repurposed after the Petition Date to hold proceeds for the DIP Financing. Such funds are on Yellow Corporation's books and records,
    but the bank account is still in the name of USF Holland LLC.
(2) Restricted cash account with Citizens supporting letters of credit.




        UST Form 11-MOR (06/07/2021)                                        Page 14 of 14
